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                       IN THE UNITED STATES DISTRICT COURT
                           OF THE DISTRICT OF COLUMBIA

JASON LEOPOLD,                                      )
                                                    )
       Plaintiff,                                   )
                                                    )
               v.                                   )
                                                    )
FEDERAL BUREAU OF INVESTIGATION,                    )
950 Pennsylvania Ave. NW                            )
Washington, D.C. 20530                              )
                                                    )
U.S. DEPARTMENT OF JUSTICE,                         )
950 Pennsylvania Ave. NW                            )
Washington, D.C. 20530                              )
                                                    )
       Defendants.                                  )

                                         COMPLAINT

       1.      Plaintiff, JASON LEOPOLD, brings this Freedom of Information Act suit to force

Defendants FEDERAL BUREAU OF INVESTIGATION and U.S. DEPARTMENT OF JUSTICE

to produce documents about any Presidential records—including classified records—that were

removed from the White House to Mar-a-Lago or flushed down White House toilets, potentially

in violation of federal law. See, e.g., Matthew Brown, USA Today, Trump White House staff found

papers blocking a toilet, staff (Feb. 10, 2022) 1; Jonathan Franklin, NPR, 15 boxes of White House

records have been recovered at Trump's Mar-a-Lago resort (February 7, 2022).

       2.      In violation of FOIA, FBI claimed that it can neither confirm nor deny that the

responsive records exist pursuant to the law enforcement exemption of FOIA even though the

Attorney General Merrick Garland publicly acknowledged the allegation.



1
 https://www.usatoday.com/story/news/politics/2022/02/10/trump-papers-toilet-haberman-
book/6735023001/
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                                              PARTIES

        3.      Plaintiff, JASON LEOPOLD is an investigative journalist and made the FOIA

request at issue in this case.

        4.      Defendant, FEDERAL BUREAU OF INVESTIGATION (“FBI”) is a component

of U.S. DEPARTMENT OF JUSTICE, a federal agency within the meaning of 5 U.S.C. §552(f),

and subject to FOIA.

        5.      Defendant, U.S. DEPARTMENT OF JUSTICE (“DOJ”) is a federal agency within

the meaning of 5 U.S.C. § 552(f) and is subject to FOIA.

                                  JURISDICTION AND VENUE

        6.      This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

        7.      Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                             FEBRUARY 15, 2022 FOIA REQUEST

        8.      On February 15, 2022, LEOPOLD submitted a FOIA request to FBI for the

following records:

             [1] All records, such as emails, memos, letters, text messages, reports,
             mentioning or referring to Presidential Records removed from the Trump White
             House that were stored at Mar-a-Lago. For this part of the request please search
             the offices of the Director, Deputy Director, National Security Branch,
             Intelligence Branch, Criminal, Cyber, Response, and Services Branch and
             Counterintelligence and Foreign Counterintelligence offices;

             [2] All records, such as emails, memos, text messages, letters, reports, personnel
             in the offices listed in part 1 exchanged with the National Archives, Department
             of Justice, CIA, Defense Intelligence Agency, NSA, DOD and the State
             Department mentioning or referring to boxes of Presidential Records removed
             from the Trump White House that were stored at Mar-a-Lago; classified
             information and boxes of Presidential Records from the Trump White House
             that were stored at Mar-a-Lago. Please search the same offices listed in part 1
             for responsive records;
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             [3] Any and all damage assessments, specifically reports documenting damage
             to national security or the potential damage to national security, that resulted
             from the removal of presidential records from the Trump White House and the
             storage of those Presidential Records at Mar-a-Lago;

             [4] All cross reference files from the CRS that mentions or refers to boxes of
             Presidential Records removed from the Trump White House that were stored at
             Mar-a-Lago;

             [5] All 302s, FD-204, FD-192, forms mentioning or referring to the National
             Archives and boxes of Presidential Records removed from the Trump White
             House that were stored at Mar-a-Lago and classified information;

             [6] All records, such as emails, letters, memos, text messages reports,
             mentioning or referring to Presidential Records from the Trump White House
             that were destroyed and Presidential Records from the Trump White House that
             were allegedly flushed down the toilet. Please search the same offices listed in
             part 1 for responsive records.

The confirmation email issued through the FBI’s online FOIA portal that quotes the request is

attached Ex. 1.

       9.         On March 8, 2022, FBI acknowledged receipt of the request and assigned reference

number 1523733-000 to the request. Ex. 2.

       10.        On March 11, 2022, FBI denied the request in its entirety. Ex. 3.

       11.        FBI stated that it “neither confirms nor denies the existence of records pursuant to

FOIA Exemption (b)(7)(A) of 5 U.S.C. § 552” as “a confirmation by the FBI that it has or does

not have responsive records would be tantamount to acknowledging the existence or nonexistence

of a pending investigation that it has not previously acknowledged.” Id.

       12.        Further, FBI stated that it “neither confirms nor denies the existence” of records

that would show “[h]ow the FBI applies its investigative resources against a particular allegation,

report of criminal activity, or perceived threat” as that information is “a law enforcement technique

or procedure that the FBI protects pursuant to Exemption (b)(7)(E) of 5 U.S.C. § 552.” Id.
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        13.    FBI alleged that “a confirmation by the FBI that it has or does not have responsive

records would be tantamount to acknowledging where the FBI is or is not applying investigative

resources thus disclosing the scope of law enforcement techniques and procedures.” Id.

        14.    On March 11, 2022, LEOPOLD appealed the FBI’s denial. Ex. 4.

        15.    On March 11, 2022, DOJ acknowledged receipt of LEOPOLD’s appeal and

assigned reference number A-2022-00932 to the matter. Ex. 5.

        16.    The deadline for the DOJ’s appeal adjudication was April 8, 2022.

        17.    As of the date of this filing, DOJ has not issued its adjudication of the appeal.

        18.    As of the date of this filing, Defendants have not complied with FOIA and have not

produced any records responsive to the request.

                        COUNT I – FBI’S FOIA VIOLATION:
                  FAILURE TO CONDUCT A REASONABLE SEARCH
        19.    The above paragraphs are incorporated herein.

        20.    Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        21.    Defendant FBI is a federal agency and subject to FOIA.

        22.    Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        23.    Defendant FBI has failed to conduct a reasonable search for records responsive to

the request.

                            COUNT II – FBI’S FOIA VIOLATION
                            FAILURE TO PRODUCE RECORDS
        24.    The above paragraphs are incorporated herein.

        25.    Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.
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       26.     Defendant FBI is a federal agency and subject to FOIA.

       27.     Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

       28.     Defendant FBI has failed to produce records responsive to the request.

WHEREFORE, LEOPOLD asks the Court to:

          i.   declare that Defendants have violated FOIA;

         ii.   order Defendants to conduct a reasonable search for records;

        iii.   order Defendants to produce all non-exempt requested records or portions of
               records promptly;

        iv.    enjoin Defendants from withholding non-exempt public records under FOIA;

         v.    award Plaintiff attorneys' fees and costs; and

        vi.    award such other relief the Court considers appropriate.

Dated: July 1, 2022


                                                     RESPECTFULLY SUBMITTED,

                                                     /s/ Matthew Topic

                                                     Attorney for Plaintiff,
                                                     JASON LEOPOLD

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